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F. #2018V00640

UNITED STATES DISTRICT COURT § €C°B 'r\ rv ,»- 1531 .L»~ ») '_

EASTERN DISTRICT OF NEW YORK ® _~“__@ .\, t `_,~ ij ;

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In re the Seizure of: AFFIDAVIT IN SUPPORT OF
APPLICATION FOR

,ANY AND ALL FUNDS ON DEPOSIT AT SEIZURE WARRANT

 

WOODFOREST NATIONAL BANK FUNDS
NUMBER 1526001183, UP TO AND

INCLUDING THE SUM OF ONE HUNDRED
SIXTY THOUSAND THREE HUNDRED
FIFTY-SEVEN DOLLARS AND SIXTY CENTS
($160,357.60), HELD IN THE NAME OF BEST
ALTER SOLUTIONS, AND ALL PROCEEDS
TRACEABLE THERETO.
_____________________ X
EASTERN DISTRICT OF NEW YORK, SS:

MARK I. RUBINS, being duly sworn, deposes and states that he is a Detective
with the New York City Police Department (“NYPD”) and a Task Force Off`lcer with the
Federal Bureau of Investigation (“FBI”), duly appointed according to law and acting as such.

l. I am a Detective with the NYPD, duly appointed according to law as a
federal Task Force Offlcer assigned to the FBI. I have been a Detective with the NYPD
since 2006. F or the past yearI have also been assigned as a Task Force Officer with the FBI
Financial Cyber Crimes Task Force (“FCCTF”). My responsibilities on the FCCTF include
investigating computer intrusions, sophisticated financial frauds and money laundering,

lamong other offenses. Through my training, education and experience, I have become

familiar with (a) the manner in which frauds are committed; (b) the methods used by persons

committing fraud to launder the proceeds of their criminal activities; and (c) the efforts of

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persons involved in such activity to avoid detection by law enforcement I am familiar with
the facts and circumstances set forth below from my participation in the investigation; my
review of the investigative file, including bank records and emails; and from reports of other
law enforcement officers involved in the investigation

2. This affidavit is submitted in support of the government’s application
to seize any and all funds on deposit at Woodforest National Bank account number
1526001183, held in the name of Best Alter Solutions (the “Woodforest Account”), up to and
including the sum of one hundred sixty thousand three hundred fifty-seven dollars and sixty
cents ($160,357.60), and all proceeds traceable thereto (the “SUBJECT FUNDS”). I submit
that there is probable cause to believe that the SUBJECT FUNDS are subject to forfeiture
pursuant to Title 18, United States Code, Section 981(a)(l)(C) and Title 28, United States
Code Section, 246l(c), as representing property which constitutes or is derived from
proceeds traceable to a violation of Title 18, United States Code, Section 1343. As set forth
in more detail below, the SUBJECT FUNDS are believed to be traceable to the proceeds of
wire fraud in violation of Title 18, United States Code, Section 1343.

3. Because this affidavit is submitted for the limited purpose of
establishing probable cause to seize the SUBJECT FUNDS, l have not described all of the
relevant facts observed by me or known to the government Where the contents of
documents and the actions and statements of others are reported herein, they are, unless
otherwise indicated, reported only in substance and in part.

STATUTORY FRAM]-EWORK
4. Title 18, United States Code, Section 981(a)(l)(C) provides for the

forfeiture of any property, real or personal, which constitutes or is derived from proceeds

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traceable to a violation of any offense, or a conspiracy to commit such an offense, which
constitutes “specified unlawful activity,” as defined in Title 18, United States Code, Section
l956(c)(7).

5. Pursuant to Title 18, United States Code, Section 1961( l)(D), as
incorporated by Title 18, United States Code, Section l956(c)(7)(A), the term “specified
unlawful activity” includes wire fraud in violation of Title 18, United States Code, Section
1343.

6. Pursuant to Title 18, United States Code, Section 981(b), this Court is
empowered to issue a seizure warrant for any property subject to forfeiture under Title 18,
United States Code, Section 981.

7. Pursuant to Title 18, United States Code, Section 981(b)(2), seizures
pursuant to Section 981 “shall be made pursuant to a warrant obtained in the same manner as
provided for a search warrant under the Federal Rules of Criminal Procedure.”

8. Pursuant to Title 18, United States Code, Section 981(b)(3) and Title
28, United States Code, Section l355(b), notwithstanding the provisions of Federal Rule of
Criminal Procedure 4l(a), a seizure warrant may be issued pursuant to Section 981(b) by a
judicial officer in any district acts or omissions giving rise to the forfeiture occurred, and
may be executed in any district in which the property is found.

9. Pursuant to Title 18, United States Code, Section 984, in any forfeiture
action i_n r_em in which the subject property is cash or funds deposited in account in a
financial institution, any identical property found within oneoyear in the same place or
account as the property involved in the offense that is the basis for the forfeiture shall be

subject to forfeiture.

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lO. As discussed below, the government’s investigation has revealed that

the SUBJECT.FUNDS represent property traceable to proceeds of a wire fraud scheme,
THE FRAUDULENT SCHEME

ll. Based on my training and experience, I arn familiar with an
increasingly common fraud scheme known as the Business Email Compromise (“BEC”)
scheme. As part of this fraudulent scheme, criminals hack into e-mail accounts belonging to
others - or simply impersonate others by creating fictitious e-mail accounts meant to
resemble those actually used.by the scheme victims - and then cause funds belonging to the
victims to be transferred to beneficiary accounts under the criminals’ control. The
beneficiary accounts are held by individuals known as “money mules,” who receive
instructions from the perpetrators of the fraud regarding the disbursement of the proceeds
credited to their accounts Money mules may or may not be aware of the criminal nature of
the funds, and in some cases are actually victims of fraud themselves'. The perpetrators of
BEC schemes are typically able to cause funds to be transferred without the victims’
knowledge and before the victims or the financial institutions involved detect the fraud.
Among the BEC schemes that are becoming more common are those targeting victims
involved in real estate businesses

12. Based on my participation in this investigation, I am familiar with one
such BEC scheme in which a victim located in Brooklyn, New York (the “Victim”) wired
funds to an account the Victim believed was held by a real estate attorney pursuant to
instructions he received by email.

13. On or about March 2, 2018, while the Victim was in the process of

purchasing a residential real property, the Victim received an email that appeared to be from

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the seller’s real estate attorney. The email was actually a counterfeit email sent from a
“look-alike” email address by the perpetrators of the fraud. The fraudulent email advised the
Victim that the sender was the “escrow closer” handling the upcoming closing and instructed
the Victim to send outstanding funds inthe amount of $386,100 to Bank of America
(“BOA”) account number 466002124298, held in the name of VMG Direct (the “BOA
Account”). The fraudulent email urged the Victim to wire the money that same day to
guarantee that the funds would be available for disbursement at the scheduled closing.

14. On or about the same day, in accordance with the fraudulent
instructions, the Victim went to a JPMorgan Chase Bank (“JPMC”) branch located in
Brooklyn, New York and arranged for the wire transfer in the amount of $386,100 from his
JPMC account to the BOA account.

15. On or about March 6, 2018, the Victim received a telephone call from
the JPMC branch manager, who told the Victim there was something suspicious about the
wire transfer. The Victim contacted his real estate attorney, who telephoned the seller’s
attorney regarding the payment of $386,100. The seller’s attorney responded that he did not
send the email with wire transfer instructions and that no closing funds had been received

16. On or about March 6, 2018, a member of the FBI investigative team
spoke to a representative of BOA who continued that a wire transfer of $386,100 was
credited to the BOA Account on or about March 2, 2018. The representative advised that
BOA would be returning to JPMC the frozen funds traced to the $386,100 wire. However,
bank records showed that on or about March 5, 20]8, $160,357.60 had already been wired

from the BOA account to the Woodforest Account.

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17 . On or about March 7, 2018, a member of the FBI investigative team
spoke to a representative of Woodforest National Bank (“Woodforest”), a bank with
headquarters in Texas and locations in multiple states. The representative confirmed that a
wire transfer from BOA on March 5, 2018, in the amount of $160,357.60, was credited to the
Woodforest Account. The Woodforest representative further stated that subsequent to the
fraudulent transfer of the SUBJECT FUNDS into the Woodforest Account, one or more
transfers of SUBJECT FUNDS were made from the Woodforest Account to one or more
related or linked accounts at Woodforest.

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18. Based on the facts set forth above, there is probable cause to believe
that the SUBJECT FUNDS, which consist of monies contained in the Woodforest Account,
up to and including $160,357.60, more or less, and all proceeds traceable thereto, including
funds transferred to related or linked accounts, constitute proceeds of the BEC fraud against
the Victim in violation of Title 18, United States Code, Section 1343, or property traceable to
such proceeds. The SUBIECT FUNDS are therefore subject to seizure and forfeiture to the
United States pursuant to Title 18, United States Code, Section 981(a)(l)(C) and Title 28,

United States Code, Section 2461(c).

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19. Accordingly, your deponent respecthllly requests that the Court issue a
Seizure warrant, pursuant to Title 18, United States Code, Section 98 l(b), authorizing the

seizure ofthe SUBJECT FUNDS.

 

MARK I. RUBINS
Task Force Officer, FBI

Swom to be is/
16th day of Mar , 20

MAGISTRATE IUDG s ,EVEN GOLD
UNITED sTATEs MA TRATE IUDGE
EASTERN DISTRICT oF NEW YORK

 

